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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3085

vs.
                                             ORDER ON MOTION TO
LISA J. SCHUTTE,                          MODIFY TERMS OF PROBATION

                 Defendant.

      This matter came on to be heard upon the defendant's Motion to Modify
Terms of Probation (filing 301). Bruce Gillan, Assistant United States
Attorney, appeared on behalf of the Government, and Joshua Barber, CJA
counsel, appeared on behalf of the defendant. Evidence was adduced,
arguments of counsel heard, and the Court, being fully advised,

      FINDS and ORDERS:

      1.   That special condition no. 8 (The defendant shall be
           incarcerated for 16 consecutive weekends in a facility
           designated by the Bureau of Prisons. . . . The term of
           intermittent confinement shall be completed no later than
           one year from today.), shall be stricken.

      2.   A new, and substitute, special condition no. 8 shall be
           imposed, as follows: Commencing this date, for the next 6
           months, the defendant is restricted to her residence at all
           times except for employment; education; religious services;
           medical, substance abuse, or mental health treatment;
           attorney visits; court-ordered obligations; or other activities
           as pre-approved by the probation officer. The form of
           location monitoring shall be set up by the probation officer
           in order to monitor the above restrictions on the
           defendant's movement in the community, as well as other
           court-imposed conditions of release.

      IT IS SO ORDERED.
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      Dated this 6th day of September, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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